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                 UNITED STATES DISTRICT COURT
                      DISTRICT OF IDAHO


United States of America,                No. 2:19-cr-0244-DCN

                Plaintiff,
    v.                                   Order Granting Defendant’s
                                         Motion to Modify Conditions
Bruce James Larson,                      of Release

                Defendant.


             Before the Court is the Defendant’s Motion to Modify

Conditions of Release. ECF No. 20. The motion is unopposed by the

Government. After reviewing the motion and relevant authority, the

Court is fully informed and finds good cause to grant the motion.

             Accordingly, IT IS HEREBY ORDERED: Defendant’s

Motion to Modify Conditions of Release ECF No. 20, is GRANTED.

Condition Six is hereby modified to allow Mr. Larson to reside at his

own residence in Priest River, Idaho, with his mother (Jeannette

Sweet), pending his revocation hearing.

             IT IS SO ORDERED.
             Dated this 2
                        2nd
                          nd day of June, 2022.


                             By _______________________
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                                      ___________
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                             Hon. Raymond E. Patricco
                             Chief United
                                   Uniited States Magistrate Judge
